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                In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-2010V
                                      (Not to be published)

*****************************
GEORGE FOSTER,              *
                            *
                Petitioner, *                                      Filed: October 4, 2019
                            *
          v.                *                                      Decision by Stipulation; Damages;
                            *                                      Influenza (“Flu”) Vaccine.
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
*****************************

Anne Carrion Toale, Maglio Christopher and Toale, Sarasota, FL, for Petitioner.

Claudia Barnes Gangi, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

       On December 21, 2017, Petitioner George Foster filed a petition seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Petition,
ECF No. 1. Petitioner alleges that he developed Parsonage Turner Syndrome (“PTS”) as a result
of receiving an influenza (“flu”) vaccination on October 14, 2015. See Stipulation ¶ 4, dated
October 3, 2019 (ECF No. 30); See also Petition.



1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the ruling will be available to anyone with access to the internet. As provided
by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-
10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. ' 300aa.
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        Respondent denies “that the flu vaccination caused [P]etitioner’s alleged PTS, any other
injury, or his current disabilities.” See Stipulation ¶ 6. Nonetheless both parties, while maintaining
their above-stated positions, agreed in a stipulation filed October 3, 2019 that the issues before
them can be settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

               a lump sum of $95,000.00 in the form of a check payable to petitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk
of the court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.

                                                  2
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